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 1   and prepubescent children engaging in sexually explicit conduct, including but not
 2   limited to the lascivious exhibition of the genitals and pubic area, in violation of 18
 3   U.S.C. § 2252A(a)(2)(A), (b)(l).
 4                                         COUNT2
 5         On or about July 30, 2022, and continuing through on or about November 27,
 6   2022, in the Eastern District of Washington, the Defendant, JOHNATHAN
 7 FREEMAN HUNT, did knowingly distribute child pornography, as defined in 18
 8 U.S.C. § 2256(8)(A), that had been mailed, shipped and transported in interstate
 9   commerce by any means, including by computer, to wit: images depicting minor
10   and prepubescent children engaging in sexually explicit conduct, including but not
11 limited to the lascivious exhibition of the genitals and pubic area, in violation of 18
12 U.S.C. § 2252A(a)(2)(A), (b)(l).
13                                         COUNT3
14         On or about November 30, 2022 in the Eastern District of Washington, the
15   Defendant, JOHNATHAN FREEMAN HUNT, did knowingly possess material in
16   addition to the material alleged in Count 1, which contained one or more visual
17   depictions of child pornography, as defined in 18 U.S.C. § 2256(8)(A), including
18   images of prepubescent minors and minors who had not attained twelve years of
19   age, the production of which involved the use of a minor engaging in sexually
20 explicit conduct, and which visual depictions were of such conduct; that had been
21 mailed, shipped and transported in interstate and foreign commerce, and which
22 were produced using materials that had been mailed, shipped and transported in
23 interstate or foreign commerce, by any means including computer, all in violation
24 of 18 U.S.C. § 2252(a)(5)(B), (b)(2).
25                   NOTICE OF FORFEITURE ALLEGATIONS
26         The allegations contained in this Indictment are hereby realleged and
27   incorporated by reference for the purpose of alleging forfeitures.
28

     INDICTMENT - 2
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